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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                    NO. 4:01CR00212-015 SWW

ANTONIO VERSHON RANDOLPH


                                       ORDER

      The above entitled cause came on for hearing on government’s

petition to revoke the supervised release [doc #963] previously granted

this defendant in the United States District Court for the Eastern

District of Arkansas.      Based upon the admissions of defendant, the Court

found that defendant has violated the conditions of his supervised

release without just cause.

      IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release

previously granted this defendant, be, and it is hereby, revoked.

      IT    IS   FURTHER   ORDERED   that   defendant   shall   serve   a   term   of

imprisonment of SIX (6) MONTHS in the custody of the Bureau of Prisons.

The Court recommends that defendant be incarcerated in Forrest City,

Arkansas.

      There will be TWO (2) YEARS of supervised release following the term

of incarceration with the following conditions:

      1. Defendant shall participate, under the guidance and supervision
      of the U. S. Probation Officer, in a substance abuse treatment
      program which may include testing, out-patient counseling, and/or
      residential treatment. Further, defendant shall abstain from the
      use of alcohol throughout the course of any treatment. The Court
      noted that defendant was displaying symptoms of alcohol withdrawal.

      2. Defendant shall serve the first THREE (3) MONTHS of supervised
      release in a residential reentry center under the guidance and
      direction of the U. S. Probation Office.
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     The defendant is ordered to report to the United States Marshal’s

Office on Monday, March 16, 2009 by noon for transport to the designated

facility to begin the service of the sentence imposed.

     IT IS SO ORDERED this 24th day of February 2009.

                                        /s/Susan Webber Wright

                                        United States District Judge
